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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                             )
LUSIK USOYAN, et al.,                        )
                                             )
                      Plaintiffs,            )
                                             )
       v.                                    )              Case No. 1:18-CV-01141-CKK
                                             )
THE REPUBLIC OF TURKEY,                      )
                                             )
                      Defendant.             )
                                             )

              DEFENDANT REPUBLIC OF TURKEY’S CONSENT MOTION
            TO SUBMIT AN OVERLENGTH REPLY MEMORANDUM OF LAW
                     IN SUPPORT OF ITS MOTION TO DISMISS

       Defendant Republic of Turkey (“Turkey”), by and through undersigned counsel, hereby

respectfully moves for leave to file a Reply Memorandum of Law (“Reply”) exceeding the 25-

page limit by an additional 40 pages (total 65 pages) in support of its Rule 12(b)(1) motion to

dismiss. Plaintiffs’ counsel consents to the requested 40-page increase.
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                               TABLE OF CASES AND OTHER AUTHORITIES

                                                             STATUTES

28 U.S.C. § 1330 ............................................................................................................................ 1

28 U.S.C. § 1602 ............................................................................................................................ 1

                                                                 RULES

Fed. R. Civ. P. 12(b)(1) ............................................................................................................. 1, 2

                                                   OTHER AUTHORITIES

Order Granting in Part Motion to Exceed Page Limit, Allen v. Russian Federation,
No. 05–2077–CKK, Dkt. No. 26 (D.D.C. May 12, 2006) ............................................................. 1

Minute Entry Granting Motion to Exceed Page Limit, Strange v. Islamic Republic of Iran,
No. 1:14-cv-00435 (D.D.C. Sept. 28, 2016) (Kollar-Kotelly, J.) .................................................. 1




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                      STATEMENT OF POINTS AND AUTHORITIES

       This Court has already recognized that exceeding the ordinary page limitations is

appropriate in this case.    Turkey’s opening brief was 80 pages and Plaintiffs’ opposition

memorandum is 78 pages.        See ECF Nos. 36, 68.       Plaintiffs’ opposition is supported by

approximately 70 additional pages of expert declarations.         See ECF Nos. 70-3 (“Layton

Declaration”), 70-4 (“Cook Declaration”). Turkey cannot adequately reply to all of the legal

arguments and factual assertions in Plaintiffs’ Memorandum of Law in Opposition to the Motion

to Dismiss (“Plaintiffs’ Opposition”) within the 25-page limitation that is intended to govern

ordinary course litigation.1 As the Court’s prior rulings on this issue has recognized, this case

presents highly complex questions of fact and law arising under several different exceptions to

the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. §§ 1330 & 1602, et seq., each of

which has multiple parts and subparts.

       It is not uncommon for courts to grant requests to exceed page limitations in cases

involving foreign sovereign immunity defenses. In the FSIA case Strange v. Islamic Republic of

Iran, No. 1:14-cv-00435 (D.D.C. Sept. 28, 2016) (Kollar-Kotelly, J.), for example, the court

granted a motion for leave to file a memorandum of law that exceeded the page limit by 77 pages

where the plaintiff sought to establish all the necessary elements of a motion for default

judgment, which, like a foreign sovereign’s establishment of the FSIA defense, requires briefing

many elements and extensive evidentiary support. See also Allen v. Russian Federation, No. 05–

2077–CKK, Dkt. No. 26 (D.D.C. May 12, 2006) (granting defendants leave, over plaintiffs’

opposition, to file 65-page memorandum of law in support of a motion to dismiss raising Rule

1
  Turkey intends to file a rebuttal declaration in reply to the Layton Declaration, which will help
reduce the length of the Reply. However, Turkey will not file a counter-expert declaration to the
Cook Declaration, so Turkey’s rebuttal of Dr. Cook’s opinions must occur solely in the body of
the Reply.


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12(b)(1) defenses under the FSIA). Extending Turkey’s page limitation is in the interest of

justice, and it will not prejudice any party or affect any previously ordered scheduling dates.

                                         CONCLUSION

       WHEREFORE, Defendant Republic of Turkey respectfully requests leave to file an

overlength reply memorandum of law exceeding the page limitation by 40 pages in support of its

Motion to Dismiss.

Date: December 6, 2019                        Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 6, 2019, I caused a copy of the foregoing to be

sent via the Court’s CM/ECF system to counsel of record who have entered an appearance in this

case.



                                                  /s/ Cathy A. Hinger
                                                  Cathy A. Hinger

                                                  Counsel for Defendant Republic of Turkey
